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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            VALDOSTA DIVISION

A.S.M., et al.,                         *

       Petitioners,                     *

vs.                                     *
                                                  CASE NO. 7:20-CV-62 (CDL)
WARDEN, Stewart County                  *
Detention Center, et al.,
                                        *
       Respondents.
                                        *

                                  O R D E R

       The Court presently has pending before it Petitioners’ motion

for preliminary injunctive relief (ECF Nos. 28 & 70).             Petitioners

are    immigration    detainees    at       the   Stewart   Detention   Center

(“Stewart”) and the Irwin County Detention Center (“Irwin”), which

are operated by private contractors under the auspices of the U.S.

Immigration and Customs Enforcement (“ICE”).                Petitioners claim

that their continued detention at these facilities under current

conditions violates their constitutional rights and that they must

be released or, in the alternative, Respondents must be ordered to

institute measures that reasonably protect them from the risk of

infection with the coronavirus.             For the reasons explained in the

remainder of this Order, Petitioners’ motion is denied.




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                                BACKGROUND

I.    The COVID-19 Pandemic

      In early 2020, the general public became aware of an outbreak

of a virus in Wuhan, China that has been designated in the

scientific community as SARS-CoV-2 but is often referred to as

“novel coronavirus” or the shorthand “coronavirus.”            This virus

can cause the disease known as “COVID-19.”        The virus is generally

believed to be spread by the transmission of body fluids through

the respiratory tract, typically from a sneeze or cough.              But it

can also survive on certain surfaces and be contracted through

human contact with the contaminated surface and subsequent contact

with the face in a manner that allows it to enter the respiratory

tract through the nose or mouth.         If the virus produces COVID-19,

the symptoms may include coughing, malaise, fatigue, fever, and

respiratory distress, and it may cause death, particularly in

persons     with   underlying   medical    conditions   that   make     them

vulnerable to respiratory distress.

      The spread of the virus has risen to the level of a global

pandemic.     In order to stave off further spread, national, state

and local governments have declared national and local emergencies

and encouraged (and in some cases ordered) that citizens remain in

their homes, that businesses be closed, and that traffic from other

countries into the United States be restricted.         The United States

economy has essentially shut down for the last sixty days with


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many people losing their jobs.              Unprecedented financial resources

have been made available by the United States Congress through

loans, direct payments to taxpayers, and other financial stimuli.

The federal and state judiciaries have been forced to conduct

proceedings       remotely     in    order       to    minimize     person-to-person

contact. Over 107,000 persons in the United States have lost their

lives with an estimated 1.85 million having become sick from the

disease.     With no vaccine presently available, the primary method

of prevention includes an emphasis on identification of those who

may be infected with the virus, social distancing, wearing masks

in public, and aggressive hand hygiene.                    Increased vigilance is

vital for those at high risk because of compromised immune and

respiratory systems and other severe underlying health conditions.

II.    Response by ICE, Stewart, and Irwin

       The coronavirus presents a particularly daunting challenge

for prisons and detention centers where large numbers of detainees

live in close proximity to each other.                   The Centers for Disease

Control    and    Prevention        (“CDC”)      has   made    recommendations       for

reducing    the    risk   of    virus       transmission       in    these   types   of

facilities. See Isted Decl. Ex. 19, Interim Guidance on Management

of    Coronavirus    Disease        2019    (COVID-19)        in    Correctional     and

Detention     Facilities       (Mar.       23,    2020),      ECF   No.   65-7     [“CDC

Guidance”].           These         recommendations           address     operational

preparedness, prevention, and management.                  Id. at 5.      ICE attempts


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to follow these recommendations.        Nevertheless, detainees in its

facilities are not immune from infection.        Like other victims of

COVID-19, some detainees in ICE facilities have contracted the

coronavirus, developed COVID-19, and subsequently died.         As of May

26, 2020, twenty-two detainees at Stewart and seven detainees at

Irwin have tested positive for COVID-19.         Fourth Washburn Decl.

¶ 22 (May 27, 2020), ECF No. 79 [“Washburn Decl.”]; Musante Decl.

¶ 19, ECF No. 76.

     Petitioners maintain that the CDC Guidance is not being

followed at Stewart and Irwin.      They contend that this failure to

follow the Guidance places them at great risk of being infected

with coronavirus and developing serious health complications from

COVID-19, including permanent injury and death. They ask the Court

to rescue them, preferably by releasing them from detention.             In

the alternative, they seek court oversight of Stewart and Irwin to

ensure that the CDC Guidance is followed.        The Court will briefly

summarize some of the measures taken at Stewart and Irwin to

contain the spread of coronavirus in these facilities.1




1 The Court acknowledges that Petitioners have presented some evidence
from themselves and other detainees disputing the claims of the
administrations at Stewart and Irwin regarding measures being taken at
the two facilities to ensure compliance with CDC Guidance. While the
Court does not doubt that 100% compliance is not being achieved, the
Court finds that Petitioners have not carried their burden of showing a
lack of substantial compliance.


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     A.      Procedures in Place at Stewart

     As   of    May    26,   2020,   Stewart   has   a   population   of     1,158

detainees, meaning the facility is operating at a reduced 57%

capacity.      Washburn Decl. ¶ 21.     Stewart has resumed transferring,

removing, and releasing detainees.              But detainees arriving at

Stewart are “subjected to symptom screening and temperature check

before being admitted into the intake area.”                  Id. ¶ 182.        At

Stewart, “[f]ollowing the booking process, detainees are isolated

and housed in a dedicated housing pod for new intakes, where they

remain in cohort quarantine status for a 7-14 day period.”                     Id.

¶ 183.    If a detainee in the cohort displays symptoms of COVID-19

or tests positive for it, the cohort’s release date is extended

fourteen days.        Id. ¶ 187.

     Stewart provides detainees access to sanitation supplies

including disinfectants, hand sanitizer, and soap in every unit at

the facility.         Id. ¶¶ 117, 119, 125-26; Murray Expert Report 6,

ECF No. 75-1 (noting detainees have access to hand sanitizer

dispensers      throughout     the   facility).          Stewart   also     checks

sanitation supplies daily and reorders them as needed.                    Washburn

Decl. ¶¶ 113-114.        Extra disinfection is performed on high touch

areas in Stewart, and porters clean communal restrooms and showers

throughout the day.          Id. ¶¶ 132, 134.        On May 4, 2020, Stewart

received a floor-to-ceiling sanitization in all areas except food

and medication storage areas.          Id. ¶ 142.


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       Stewart posts educational materials about COVID-19 throughout

its facility in multiple languages.               Id. ¶ 68; see also Murray

Expert Report 7.         And it hosts town hall meetings with bilingual

staff members to discuss the subject.             Washburn Decl. ¶¶ 69-73.

       As of April 10, 2020, Stewart staff and detainees have been

required to wear masks except in showers, bunks, or while eating.

Id. ¶ 150.        Stewart distributes replacement masks to detainees

weekly and masks may be obtained upon request as needed.                        Id.

¶ 151.      Stewart reviews surveillance video to confirm employee

compliance        with     personal      protective       equipment       (“PPE”)

requirements, and staff have begun issuing disciplinary reports to

detainees who refuse to wear masks.             Id. ¶¶ 153-54.

       Stewart suspended in-person visitation to the facility except

for legal visitation.        Id. ¶ 75.       Staff, contractors, and visitors

who enter Stewart are screened before entering and their body

temperature is taken. Id. ¶ 76. Since April 10, 2020, individuals

who enter Stewart must wear a mask.             Id. ¶¶ 85, 87.

       On March 31, 2020, sixty-seven detainees were moved into

cohort housing areas that were designed to be protective housing

for high-risk medically vulnerable detainees.              Id. ¶¶ 160-61.       If

a detainee in the general population tests positive for COVID-19,

he remains in the medical unit until he has been symptom-free for

seventy-two hours. Id. ¶ 168. When possible, the original housing

pod    of   the   detainee   who   tests      positive   for   COVID-19    or   is


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symptomatic      of    COVID-19     is       placed   on     a   fourteen-day

cohort/quarantine status.         Id. ¶ 175.

       Stewart has instructed staff to maintain six feet of physical

distance from detainees or other staff where possible.              Id. ¶ 89.

Detainee movement has also been restricted significantly to reduce

COVID-19 exposure in hallways.        Id. ¶¶ 90, 110.        When non-cohorted

detainees use mail services, commissary, and pill call, they are

transported in groups of fewer than ten detainees and red tape has

been placed on the ground to indicate that they should stand six

feet apart in line.      Id. ¶ 92.       The medical unit and waiting room

have also been designed to promote social distancing.              Id. ¶¶ 94-

96.    Religious services and contact sports during recreation time

have been suspended.      Id. ¶¶ 103-04.        And, “detainees assigned to

bunk-beds have been instructed to lay in a ‘crisscross’ or ‘head-

to-toe’ fashion, with one detainee’s head at one end of the bunk,

and the other detainee[’]s head at the other end of the bunk, to

create more distance should a detainee sneeze or cough.”                   Id.

¶ 109.      “Additionally, detainee housing assignments have been

adjusted to place as much physical space as possible between

detainees, considering other factors relating to security level

and other medical and mental health needs.”            Id.

       B.    Procedures in Place at Irwin

       As of May 20, 2020, Irwin is operating at a reduced 53%

capacity with only 503 ICE detainees.            Third Paulk Decl. ¶ 4, ECF


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No. 78 [“Paulk Decl.”].        New detainees are screened at intake at

Irwin and wear PPE during transport.         Id. ¶ 21.      Any new detainee

who is symptomatic of COVID-19 is immediately referred to medical

personnel.   Id.   Transferred detainees are placed into protective

cohort housing for fourteen days.         Id. ¶ 22.    Detainees in cohort

status are only transferred for necessary medical care, lack of

quarantine space, or security concerns.           Id. ¶ 58.

     If a detainee reports COVID-19 symptoms, medical staff assess

the individual.    Id. ¶ 55.     And if medical staff find that symptoms

do exist, the detainee is tested for COVID-19 and placed in medical

isolation.   Id.   That individual’s housing unit is then placed in

cohort status for at least fourteen days.           Id.

     Irwin provides free cleaning products to housing units.             Id.

¶ 48; Murray Expert Report 6 (noting that Irwin provides alcohol-

based sanitizer in community areas).              All detainees have been

provided with two cloth face masks, and additional masks are

available for replacement.          Paulk Decl. ¶ 50.         Detainees are

encouraged   to    wear   face    masks    in    community    areas.     Id.

“Recreational areas and the chow hall are thoroughly sanitized

between uses employing a CDC recommended cleaning agent or one of

similar efficacy, as are common use items, such as telephones and

[video telecommunication] devices.”             Id. ¶ 46.     “Open housing

unit showers are sanitized and pressure-washed daily, and showers




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in closed-cell housing units are sprayed as well.”           Id.     Irwin

staff members must wear PPE, including masks and gloves. Id. ¶ 51.

     Irwin staff have instructed multiple housing units on how to

properly wash hands, maintain social distancing, and be aware of

COVID-19-related issues.    Id. ¶ 33.     Irwin has also posted signage

in multiple languages throughout the facility to educate staff and

detainees on COVID-19.     Id. ¶¶ 33, 47; Murray Expert Report 7.

     All non-professional visits at Irwin have been suspended, and

professional visits are only permitted in non-contact visitation

rooms or via Skype.     Paulk Decl. ¶¶ 8, 15-16, 20.      Professionals

are required to wear masks during visits.          Id. ¶ 16.       And all

entrants, including Irwin staff, are thoroughly screened before

entering the facility through body temperature checks and COVID-

19 questionnaires.     Id. ¶¶ 9, 23.

     Irwin officials have restricted the number of detainees who

can eat at tables together in chow hall and staggered meals,

recreation time, and other group activities to encourage social

distancing.   Id. ¶¶ 35-36, 38.          They have also posted signage

regarding social distancing.    Id. ¶ 37.     And they have “assign[ed]

sleeping arrangements so detainees can sleep on alternate levels

of adjacent bunks where possible, head-to-foot, to prevent the

spread of COVID-19.”     Id. ¶ 40.




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       C.    Custody Re-Evaluations at Stewart and Irwin

       As part of its overall management of its detainee population

in light of COVID-19, “ICE has reviewed its detained ‘at risk’

population . . . to determine if detention remains appropriate,

considering the detainee’s health, public safety and mandatory

detention requirements.”            Moten Decl. ¶ 33, ECF No. 77; Musante

Decl. ¶ 26.      For example, ICE released Petitioner A.S.M. pursuant

to this re-evaluation on April 17, 2020.              Moten Decl. ¶ 163.      In

addition, Respondents considered all remaining Petitioners, except

one, for release pursuant to the preliminary injunction issued in

the    Central      District   of    California     case,    Fraihat   v.   U.S.

Immigration & Customs Enforcement, No. EDCV 19-1546 JGB (SHKx),

2020 WL 1932570 (C.D. Cal. Apr. 20, 2020).                  See id. ¶¶ 62, 78,

130, 145; Musante Decl. ¶¶ 36, 57, 82, 103, 122, 135.                Respondents

declined to release Petitioners during this review for a variety

of individualized reasons, including the respective danger they

pose to the community and the high likelihood they will flee.                Id.

                                    DISCUSSION

       To obtain preliminary injunctive relief, Petitioners must

establish     the    following:      (1)    that   they   have   a   substantial

likelihood of succeeding on the merits; (2) that they face an

imminent and substantial threat of irreparable harm unless relief

is granted; (3) that the threatened injury to them outweighs the

harm the relief may cause respondents; and (4) that the relief is


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not against the public interest.        Levi Strauss & Co. v. Sunrise

Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995).

     Preliminarily, the Court finds, as it has found before, that

it does not have jurisdiction to consider Petitioners’ habeas

corpus remedy and that Petitioners are not otherwise entitled to

release from confinement.    Release from detention is not available

as a remedy for unconstitutional conditions of confinement claims.

See A.S.M. v. Donahue, No. 7:20-CV-62 (CDL), 2020 WL 1847158, at

*1-*2 (M.D. Ga. Apr. 10, 2020); Vaz v. Skinner, 634 F. App’x 778,

781 (11th Cir. 2015) (per curiam) (finding a writ of habeas corpus

is “not the appropriate vehicle for . . . a claim challeng[ing]

the conditions of confinement”); Gomez v. United States, 899 F.2d

1124, 1126 (11th Cir. 1990) (“The appropriate Eleventh Circuit

relief from prison conditions that violate the Eighth Amendment

during legal incarceration is to require the discontinuance of any

improper practices, or to require correction of any condition

causing cruel and unusual punishment. . . . [R]elief of an Eighth

Amendment violation does not include release from confinement.”).

Even if an exception to that rule exists where the unconstitutional

conditions cannot be remedied in some other way, the Court finds

that, based on the present record, release from confinement is not

the only way to remedy the alleged unconstitutional conditions of

confinement here.    Petitioners essentially concede this fact by

suggesting that if Respondents followed the CDC Guidance, the risk


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of   infection    would    be    substantially   reduced.       Accordingly,

Petitioners are not entitled to release from detention even if the

current conditions violate their constitutional rights.

      Regarding Petitioners’ alternative request for declaratory or

injunctive relief, in order to show a substantial likelihood of

success on the merits, Petitioners must point to a constitutional

violation.    They allege three separate Fifth Amendment violations.

The first two are closely connected.           Petitioners claim that the

current    conditions     of    confinement   amount    to   unconstitutional

punishment of civil detainees and deliberate indifference to the

health and safety of detainees in violation of the Fifth Amendment.

Petitioners’ third claim, which they describe as an Accardi claim,

alleges that Respondents’ failure to comply with the CDC Guidance

violates their Fifth Amendment right to due process.               The Court

addresses each claim in turn.

I.    Unconstitutional Punishment

      Conditions of confinement violate the Fifth Amendment Due

Process Clause when they “amount to punishment of the detainee.”

Bell v. Wolfish, 441 U.S. 520, 535 (1979).2            “[W]hether a condition

of . . . detention amounts to punishment turns on whether the

condition is imposed for the purpose of punishment or whether it

is incident to some legitimate government purpose.”                Jacoby v.


2 For purposes of this Order, the Court assumes without deciding that
the Fifth Amendment impermissible punishment standard would apply to
immigration detainees’ conditions of confinement claims.


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Baldwin Cty., 835 F.3d 1338, 1345 (11th Cir. 2016) (quoting Magluta

v. Samples, 375 F.3d 1269, 1273 (11th Cir. 2004)).                      Petitioners

can show punishment either through an express intent to punish or

courts “‘may infer that the purpose of the governmental action is

punishment’ if the ‘restriction or condition is not reasonably

related to a legitimate goal—if it is arbitrary or purposeless.’”

Id.    (quoting    Bell,    441   U.S.   at    539).    When    conducting     this

analysis, the Court first “must ask whether any ‘legitimate goal’

was served by the [facility’s] conditions.”              Id.      Next, the Court

“must ask whether the conditions are ‘reasonably related’ to that

goal.”     Id.

       No evidence exists in the present record suggesting any

“express     intent”   to    punish      Petitioners.       And    it    cannot   be

reasonably disputed that Respondents have a legitimate interest in

detaining aliens to ensure that they appear for removal and for

public safety purposes.           See, e.g., Demore v. Kim, 538 U.S. 510,

523    (2003)     (“[T]his    Court      has   recognized      detention    during

deportation proceedings as a constitutionally valid aspect of the

deportation process.”); Jennings v. Rodriguez, 138 S. Ct. 830, 836

(2018)     (“Detention       during      [immigration]      proceedings       gives

immigration officials time to determine an alien’s status without




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running the risk of the alien’s either absconding or engaging in

criminal activity before a final decision can be made.”).3

        Petitioners argue, however, that their continued detention in

the     current    conditions     is   not    reasonably    related    to    the

government’s interest because of the risk that they will contract

the coronavirus in detention when alternatives to detention are

reasonably available.        The Court rejects this argument.         Detention

always carries with it the risk of communicable disease outbreak

given the close communal living spaces in such facilities.                  Based

upon the present record, the Court finds that, although the

coronavirus       pandemic   is    a   particularly   daunting    challenge,

Respondents have taken extensive and reasonable measures to reduce

the risk of coronavirus spread at Stewart and Irwin.             Petitioners’

continued detention there is necessary and certainly does not cross

the line from civil detention to impermissible punishment.                   For

these     reasons,     their      detention    does   not    constitute       an

impermissible punishment in violation of the Fifth Amendment.

II.     Deliberate Indifference

        Petitioners’ second claim asserts that they are being denied

the level of care required under the Eighth Amendment’s standard



3  Petitioners claim that Respondents have openly admitted to an
illegitimate purpose in detention—general deterrence—based on comments
in a press release by the Acting Director of ICE. Even if these comments
are construed as evidence of one illegitimate motive, they do not negate
all of the other undisputed legitimate interests in detention.



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prohibiting cruel and unusual punishment.4           This standard “has two

components: one objective and the other subjective.”                 Swain v.

Junior, 958 F.3d 1081, 1088 (11th Cir. 2020).             “First, to satisfy

the     ‘objective    component,’      the   [detainee]      must   show    ‘an

objectively intolerable risk of harm.’”              Id. (quoting Farmer v.

Brennan, 511 U.S. 825, 846, (1994)).             “He must show that the

challenged       conditions     were     ‘extreme’     and    presented      an

‘“unreasonable risk of serious damage to his future health” or

safety.’”      Id. (quoting Chandler v. Crosby, 379 F.3d 1278, 1289

(11th Cir. 2004)).       It is doubtful that Petitioners have shown a

substantial likelihood that they can satisfy this objective prong.

While COVID-19 certainly presents a risk of serious harm to persons

who are detained in any prison or detention center, the Court

cannot find from the present record that this risk is objectively

unreasonable at Stewart or Irwin in light of the measures that

have been implemented there.           But even if Petitioners could show

a substantial likelihood of satisfying this objective prong, they

clearly have failed to satisfy the subjective element of this

claim.

       “[T]o satisfy the ‘subjective component,’ the [detainee] must

show that the . . . official acted with deliberate indifference.”



4 The Fifth Amendment requires facilities to provide certain detainees
a level of care that not only meets the impermissible punishment standard
but also meets the standard applied to Eighth Amendment claims.       See
Hamm v. DeKalb Cty., 774 F.2d 1567, 1574 (11th Cir. 1985).


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Id. at 1088-89 (quoting Chandler, 379 F.3d at 1289).          An official

“acts with deliberate indifference when he ‘knows of and disregards

an excessive risk to inmate health or safety.’”              Id. at 1089

(quoting Farmer, 511 U.S. at 837).            An “official may escape

liability for known risks ‘if [he] responded reasonably to the

risk, even if the harm ultimately was not averted.’”         Id. (quoting

Chandler, 379 F.3d at 1290).          “Deliberate indifference requires

the defendant to have a subjective ‘state of mind more blameworthy

than negligence,’ . . . closer to criminal recklessness.”                Id.

(quoting Farmer, 511 U.S. at 835).

     Here, Petitioners have not pointed to sufficient evidence of

Respondents’ deliberate indifference.           The Eleventh Circuit’s

recent COVID-19 conditions of confinement decision in Swain v.

Junior is instructive. Concluding that the inmates in Swain likely

had not shown deliberate indifference, the Eleventh Circuit found:

(1) an increase in COVID-19 infections is not proof of deliberate

indifference; (2) the measures that the defendants were taking

(including increased screening, providing protective equipment,

adopting social distancing when possible, quarantining symptomatic

inmates, and enhancing cleaning procedures) demonstrated they were

taking   the   risk   of   COVID-19   seriously;   (3)   although   it   was

impossible for defendants to implement social distancing measures

effectively in all situations, the district court cited no evidence

to establish that the defendants subjectively believed that the


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measures they were taking were inadequate; (4) although the social

distancing policies were not uniformly enforced, the district

court made no finding that defendants ignored or approved of the

lapses in enforcement; and (5) “the inability to take a positive

action [like social distancing] likely does not constitute ‘a state

of mind more blameworthy than negligence.’”            Id. at 1089 (quoting

Farmer, 511 U.S. at 835).         Based upon these findings, the Court

concluded that the district judge abused her discretion when she

granted preliminary injunctive relief.

     The circumstances described in the Court of Appeals’ Swain

opinion are remarkably similar to those existing at Stewart and

Irwin.   Respondents have taken extensive measures to prevent the

spread   of   coronavirus,      and   the   Court   finds   that    they   have

substantially complied with the CDC’s recommendations.                Even if

Petitioners can point to isolated violations of the CDC Guidance

and even if that Guidance is the general standard of care, such

breaches do not support a constitutional violation.           See Steele v.

Shah, 87 F.3d 1266, 1269 (11th Cir. 1996) (finding that for there

to be a constitutional violation, there must be more than a breach

of the applicable standard of care; there must be deliberate

indifference which requires a finding of subjective awareness of

the risk accompanied by a conscious disregard of it).              The present

record   does   not   support    a    finding   that   Petitioners     have   a




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substantial      likelihood       of   succeeding      on   their      deliberate

indifference claim.

III. Accardi Claim

       Petitioners maintain that they are entitled to the relief

they   seek    even   if   they   cannot     prove   that   the    conditions   of

confinement amount to punishment or that Respondents have acted

with deliberate indifference to their health and safety.                     They

contend that if they can prove that Respondents have failed to

follow CDC Guidance, then that failure violates their due process

rights, and that due process violation can be redressed by altering

their conditions of confinement, either by releasing them from

detention or modifying the confinement conditions.                    Petitioners

rely upon United States ex rel. Accardi v. Shaughnessy, 347 U.S.

260 (1954) for this proposition.             Therefore, an analysis of that

decision is the appropriate place to start.

       The Supreme Court’s decision in Accardi is not remarkable.

But the extension of it by some courts has created confusion and

provided      ammunition   for    creative     lawyers.      Lifting     isolated

phrases from the various opinions is unhelpful.                   The fundamental

first step is to completely understand what the Supreme Court

decided, which, as explained in the following discussion, is a far

cry from Petitioners’ claim in reliance upon it.

       At its core, Accardi involved procedural due process.                    The

Supreme Court held that when an agency adopts regulations pursuant


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to proper statutory delegation that specify the procedures that

shall be followed in matters before the agency, the agency must

follow its own procedures.          347 U.S. at 268.       An examination of

the     facts   helps    place   Accardi      in   the   proper    context   and

demonstrates how it is distinguishable from the claim asserted

here.     Edward Shaughnessy, who was born in Italy and entered the

United States by train from Canada without immigration inspection

or a visa, applied to the Board of Immigration Appeals for the

suspension of his deportation under the Immigration Act.                Prior to

the Board’s decision on his application, the Attorney General of

the    United   States   released    a    confidential    list    of   “unsavory

characters” whom he believed should be deported.                  That list was

publicly disclosed and circulated to the members of the Board.

Mr. Shaughnessy was on that list.             Mr. Shaughnessy claimed that

the release of this “unsavory characters” list amounted to a

prejudgment of his right to have his deportation suspended by the

Board and made his right to fair consideration of his application

by the Board impossible.         Id. at 264.       When his application was

denied, he filed a petition for habeas corpus.               As stated by the

Supreme Court, the “crucial question [was] whether the alleged

conduct of the Attorney General deprived petitioner of any of the

rights guaranteed him by the statute or by the regulations issued

pursuant thereto.”       Id. at 265.




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     The Supreme Court began its analysis by noting that the

regulations in question had been properly promulgated pursuant to

statutory delegation and were published in the Code of Federal

Regulations.       Id. at 265 n.6.    It then stated the unremarkable

principle that “[r]egulations with the force and effect of law

supplement the bare bones of [the statute].”                 Id. at 265.      The

Supreme Court confirmed that the applicable regulations “prescribe

the procedure to be followed in processing an alien’s application

for suspension of deportation.”           Id.    Thus, Congress statutorily

delegated    authority    to   the   appropriate        executive    agency   to

promulgate regulations that would set out the procedure for such

proceedings.       And that agency did so.        Those regulations mandated

that the Board of Immigration Appeals shall exercise its own

judgment    when   considering   appeals        such   as   Mr.   Shaughnessy’s.

Therefore, the regulations prevented the Attorney General from

sidestepping the Board when making determinations on applications

for suspension of deportation.            As interpreted by the Supreme

Court, Mr. Shaughnessy’s petition for habeas corpus “charge[d] the

Attorney General with precisely what the regulations forb[ade] him

to do: dictating the Board’s decision.”                Id. at 267.     When the

Attorney General publicly disclosed the list of unsavory persons

that he planned to deport and circulated the list to the Board,

he, as a practical matter, deprived Mr. Shaughnessy of a fair

hearing in which the Board was required by the regulations to


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exercise its own independent discretion. Id.                   The Court concluded

that if Mr. Shaughnessy proved his allegations, he could establish

that he was denied the “due process required by the regulations in

such proceedings.”          Id. at 268.         Accordingly, the denial of his

petition for habeas corpus was reversed.

        The principle announced in Accardi has been applied in this

Circuit.        See, e.g., Washington v. Comm’r of Soc. Sec., 906 F.3d

1353,     1361     (11th    Cir.   2018)        (finding    the     Social       Security

Administration is bound in administrative appeals by its own

interpretive rulings regarding how administrative law judges must

weigh certain evidence when those interpretive rulings are made

pursuant to authority provided by properly promulgated regulations

and when failure to enforce the regulation would adversely affect

substantive rights of individuals); United States v. Teers, 591 F.

App’x 824, 840 (11th Cir. 2014) (suggesting, although finding it

unnecessary to decide, that an Accardi due process violation

requires     that     the   person   “reasonably           relied    on    the     agency

regulations promulgated for his guidance or benefit and suffered

substantially because of their violation by the agency”); Jean v.

Nelson, 727 F.2d 957, 976, 978-979 (11th Cir. 1984) (finding that

the court had authority to review whether the immigration officials

involved in denying petitioner’s request for parole acted within

the     scope    of   their    delegated        powers     and,     in    making     this

determination, the court may consider whether the decision to deny


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parole was consistent with the statutory grant of discretion by

Congress, the regulations promulgated by the agencies involved,

and the policies which had been established by the President and

Attorney General).

       Relying upon snippets extracted from distinguishable judicial

opinions, Petitioners seek to unmoor Accardi from its analytical

anchor—due process.      Petitioners make no contention that some

“process” was due or denied them.            Instead, they seek to convert

a   constitutional    conditions        of     confinement      claim     into    a

negligence-type action, using operating policies for maintaining

safe and healthy facilities as the standard of care.                 Petitioners

have pointed the Court to no circuit court opinion holding that an

executive    branch    agency’s     operational        policy       relating     to

conditions   of   confinement     for    its    detainees    is     the   type   of

regulation   contemplated    by   Accardi       to   support    a   due   process

violation.    Recognizing its duty to apply the law and not make it

up, the Court declines Petitioners’ invitation to extend Accardi,

particularly given that it would have so little company in doing

so.5


5 The Court acknowledges that one district judge in this circuit has
recognized an Accardi claim under similar circumstances. See Gayle v.
Meade, No. 20-21553-CIV, 2020 WL 2086482 (S.D. Fla. Apr. 30, 2020), order
clarified, No. 20-21553-CIV, 2020 WL 2203576 (S.D. Fla. May 2, 2020).
For the reasons explained in today’s order, the Court finds that judge’s
reasoning unpersuasive, as have other judges in this circuit. See Gayle
v. Meade, No. 20-21553-CIV, 2020 WL 1949737, at *28 (S.D. Fla. Apr. 22,
2020), report and recommendation adopted in part, No. 20-21553-CIV, 2020
WL 2086482 (S.D. Fla. Apr. 30, 2020), order clarified, No. 20-21553-CIV,


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        The contrast between Accardi and the present case is striking.

Unlike the formally promulgated and properly delegated regulation

in Accardi, the CDC Guidance that ICE voluntarily agreed to try to

follow here was never promulgated as a regulation pursuant to the

Administrative Procedures Act.      Furthermore, Petitioners have not

explained the source of statutory authority that would even permit

such agency rule-making delegation under these circumstances.

Even if an Accardi-type claim may theoretically exist absent a

formally adopted regulation, the voluntary decision to follow non-

binding “guidance” from another agency of the Executive Branch

certainly does not for Accardi purposes bind the agency that

chooses to follow the guidance.

        The Court recognizes that ICE, Stewart, and Irwin vaguely

indicated an intent to be bound by CDC guidelines.       As Petitioners

note,     Respondents   operate   Stewart   pursuant   to   ICE’s    2011

Performance-Based National Detention Standards (“2011 Standards”),

as amended in 2016, which contemplate that “[CDC] guidelines for

the prevention and control of infectious and communicable diseases

shall be followed” and “[f]acilities shall comply with current and

future plans implements by federal, state or local authorities


2020 WL 2203576 (S.D. Fla. May 2, 2020) (magistrate judge’s finding that
Petitioners were not likely to succeed on their Accardi claim given the
substantial amount of flexibility in the CDC Guidance); Matos v. Lopez
Vega, No. 20-CIV-60784-RAR, 2020 WL 2298775, at *12 (S.D. Fla. May 6,
2020) (disagreeing with the conclusion in Gayle and finding Respondents
did not violate the CDC Guidance by failing to space bunks six-feet apart
given the non-mandatory language in the Guidance).


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addressing specific public health issues including communicable

disease     reporting   requirements.”        Isted    Decl.    Ex.   44,   2011

Standards §§ 4.3(2)(10), 4.3(V)(C)(1), ECF No. 65-12, at 7, 10-

11.      And   Respondents    operate    Irwin   pursuant      to   ICE’s   2008

Performance-Based National Detention Standards (“2008 Standards”),

and those standards also specify that “[f]acilities shall comply

with current and future plans implemented by federal, state or

local     authorities    addressing     specific      public   health   issues

including communicable disease reporting requirements.”                     Isted

Decl. Ex. 43, 2008 Standards § 4.22(V)(C)(1), ECF No. 65-11 at 7.

ICE also released agency guidance on April 10, 2020 stating that

dedicated and non-dedicated ICE detention facilities must comply

with the CDC Guidance. Isted Decl. Ex. 24, ICE Enforcement and

Removal Operations: COVID-19 Pandemic Response Requirements 5, ECF

No. 65-8.      But the mere voluntary decision to try to operate its

detention facilities consistent with the best available practices,

as evidenced by the CDC Guidance, does not subject Respondents to

an Accardi conditions of confinement claim.

        Abundant evidence exists that the CDC did not intend to bind

facilities by its Guidance.           For example, the Guidance leaves

facilities significant discretion in choosing how to adapt the

recommendations to their needs.            The front page of the Guidance

states in bold: “The guidance may need to be adapted based on

individual     facilities’    physical     space,     staffing,     population,


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operations, and other resources and conditions.”              CDC Guidance 1.

The next page provides, “[a]dministrators and agencies should

adapt these guiding principles to the specific needs of their

facility.”     Id. at 2.     And it explains that “[t]he majority of the

guidance . . .      is designed to be applied to any correction or

detention facility, either as written or with modifications based

on a facility’s individual structure and resources.”                  Id. at 5

(emphasis added).        The Guidance is also full of qualifiers and

non-mandatory language.        See, e.g., id. at 11 (“If space allows,”

facilities should “reassign bunks . . . ideally 6 feet.” (emphasis

added)); id. at 14 (“If possible, consider . . . .” (emphasis

added));     id.   at   3   (“Ideally    .   .   .   .”   (emphasis   added)).

Additionally, the Guidance was implemented early in a pandemic

when information about best practices was continually evolving

and, therefore, binding facilities to strictly follow the best

practices as they were known at that time would have been unwise.

And, finally, the Guidance was not promulgated pursuant to a formal

notice   and   comment      rulemaking   process.         These   circumstances

suggest that the CDC likely did not intend to bind facilities

through its Guidance.        These guidelines are simply suggested best

practices based on the best available evidence known at the time

of their release.           Their adoption by ICE does not make them

anything more than that.        ICE simply decided that it would follow

these recommendations in its facilities. They became part of their


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operational guidelines.      It is absurd to suggest that any time a

detention facility fails to follow an internal operating procedure

that    a   detainee   can   file    a    lawsuit     in     federal    court.

“Where . . . regulations     .   .   .    simply    function    as     internal

operating instructions, . . . they are deemed to be solely for in-

house agency use and are not judicially enforceable against the

agency.”     First Ala. Bank N.A. v. United States, 981 F.2d 1226,

1230 n.5 (11th Cir. 1993); see Wilderness Soc. v. Norton, 434 F.3d

584, 595-96 (D.C. Cir. 2006) (finding an agency’s “management

policies” constituted non-binding internal guidance by looking at

the language of the policy, the fact that the policy reserved

agency discretion to change or reject the policy, and the fact

that the policy did not go through notice and comment rulemaking).

       The adopted CDC Guidance is simply not the type of mandatory

“regulation” contemplated in Accardi.          Respondents’ decision to

try to follow the CDC Guidance does not somehow convert operational

guidelines     into    procedural    guarantees       with     due      process

implications.     To hold otherwise would establish a standard for

detention centers and prisons to meet that is far more rigorous

than well accepted constitutional requirements.                Every federal

detention facility and prison in the country would be subjected to

an Accardi claim any time they failed to follow an operational

procedure.    It seems clear that the Justices who decided Accardi

would have never contemplated this consequence of their straight-


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forward attempt to make sure Mr. Shaughnessy had the right to have

his application heard independently by the Board of Immigration

Appeals     as    the    properly     promulgated   procedural     regulations

required.        Moreover, it seems even clearer that neither the CDC

nor ICE ever dreamed that by adopting these best practices, they

were establishing a guarantee that these practices were going to

be followed, and if they were not, they would be deemed to have

violated a detainee’s right to due process.

     Petitioners’         arguments    fail   for   perhaps   an   even   more

fundamental reason.         They cannot explain how a failure to follow

a policy designed to reduce transmission of an infectious disease

implicates procedural due process.            Accardi involved a procedure

that the agency failed to follow which resulted in the denial of

a fair hearing.         Other Accardi type cases in this Circuit address

situations in which an agency failed to follow certain formally

adopted procedures that are designed for the benefit of persons

relying upon them.        The Guidance here has nothing to do with this

type of procedural process.           These substantive guidelines suggest

how a detention facility can be maintained in a safe and healthy

manner.      While the CDC guidelines are certainly relevant to

Petitioners’ constitutional condition of confinement claims, they

have no relevance to whether Petitioners received procedural due

process.    Quite simply, Petitioners’ claim is not authorized under

Accardi or its progeny.


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        Even    if    an   imaginative    judge    could    distort    Accardi    to

theoretically apply here, Petitioners have not shown based on the

present record a substantial likelihood that the CDC Guidance has

actually       been   “violated.”        As    previously   explained,     the   CDC

Guidance reiterates numerous times that facilities will need to

adapt the principles in the Guidance to meet their specific needs.

CDC Guidance 1, 2, 5.               Thus, as their name confirms, these

principles are guidance and not mandated directives.

        Consistent with the flexible nature of the Guidance, most of

the provisions that Petitioners claim Respondents are violating

are phrased as recommendations, not requirements.                     For example,

Petitioners complain that the bunk beds are not six feet apart and

that detainees cannot maintain six feet of separation in dining

areas, but the CDC Guidance does not mandate social distancing at

all times in all situations.              The Guidelines provide that “[i]f

space allows,” facilities should “reassign bunks to provide more

space    between       individuals,      ideally    6   feet   or   more   in    all

directions.”          Id. at 11 (emphasis added).              And the Guidance

recognizes that social distancing “[s]trategies will need to be

tailored to the individual space in the facility and the needs of

the population and staff.           Not all strategies will be feasible in

all facilities.”           Id.   As another example, Petitioners complain

that Respondents are only quarantining new intakes for five to six

days, but the provision of the CDC Guidance Respondents are accused


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of violating says “[i]f possible, consider quarantining all new

intakes for 14 days before they enter the facility’s general

population.”      Id. at 14 (emphasis added).         Again, the Guidance

does not mandate such action. And, as a final example, Petitioners

complain about Respondents’ use of cohorting to medically isolate

detainees, but the CDC Guidance does not prohibit such conduct.

It   only    states   that   “[i]deally,      cases   should     be    isolated

individually,      and    close    contacts     should     be     quarantined

individually.     However, some . . . detention centers do not have

enough individual cells to do so and must consider cohorting as an

alternative.”     Id. at 3 (emphasis added).

      Petitioners also argue that Respondents continue to transfer

detainees in violation of CDC Guidance.          The CDC Guidance advises

facilities to “[r]estrict transfers of . . . detained persons to

and from other jurisdictions and facilities unless necessary for

medical evaluation, medical isolation/quarantine, clinical care,

extenuating security concerns, or to prevent overcrowding.”                  Id.

at 9.       Both Irwin and Stewart concede that they have resumed

transferring and removing detainees under limited circumstances.

Contrary     to   Petitioners’    interpretation      of   the        applicable

Guidance, Respondents may consistent with that Guidance adapt

provisions based on Stewart and Irwin’s “physical space, staffing,

population, operations, and other resources and conditions.”                 Id.

at 1.       By resuming transfers of detainees but incorporating


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heightened screening and health safety precautions in the transfer

process, Respondents reasonably adapted the CDC’s Guidance on

transfers.6

       In summary, creative lawyering cannot reduce the heavy burden

that   a   detainee   must   carry   when    asserting    a   conditions   of

confinement claim.      A detainee must establish that the conditions

amount     to   impermissible   punishment    or   that   Respondents   have

demonstrated a deliberate indifference to the detainee’s health



6 The Court also rejects Petitioners’ claim based on Stewart and Irwin’s
alleged failure to conduct custody re-evaluations for Petitioners
despite ICE’s Guidance.    See U.S. Immigration & Customs Enforcement,
Updated Guidance: COVID-19 Detained Docket Review 2 (Apr. 4, 2020),
https://www.ice.gov/doclib/coronavirus/attk.pdf      (directing     field
officer directors and deputy field officer directors to identify all
detainees who have certain health conditions, ensure the conditions are
still present, and “review [those] case[s] to determine whether continued
detention remains appropriate in light of the COVID-19 pandemic”); U.S.
Immigration & Customs Enforcement, ERO COVID-19 Pandemic Response
Requirements     (Version    1.0,    April     10,    2020),    at    14,
https://www.ice.gov/doclib/coronavirus/eroCOVID19responseReqsCleanFaci
lities.pdf. Petitioners do not believe that they were identified for
custody re-evaluation or received meaningful individualized custody
reviews because they did not receive medical evaluations and were not
given the opportunity to provide supplemental medical records concerning
their risk factors. They ask the Court to order Stewart and Irwin to
conduct meaningful custody re-evaluations for them.        To the extent
Petitioners claim that the ICE Guidance constitutes a regulation that
Stewart and Irwin were required under Accardi to follow, the Court notes
that they have not provided any non-speculative evidence that Respondents
failed to conduct these evaluations for detainees who met the Guidance’s
qualifications and nothing in the ICE Guidance indicates that Stewart
and Irwin were required to provide detainees new medical evaluations or
opportunities to supplement medical records when conducting these
custody reviews.    Therefore, they are unlikely to succeed on Accardi
claims pursuant to the ICE Guidance. And, they are unlikely to succeed
on any argument that Respondents’ failure to conduct a custody re-
evaluation for them otherwise violates the Constitution because, as
previously discussed, Stewart and Irwin’s continued detention of
individuals does not constitute impermissible punishment or deliberate
indifference.


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and safety. While substantial deviations from an accepted standard

of care based upon violations of operational policies may be

considered in determining whether this burden has been carried,

the mere violation of such non-binding policies does not give rise

to a separate stand-alone Accardi claim.

                                 CONCLUSION

       The Court is sensitive to Petitioners’ predicament.                Their

legal status has placed them in an unenviable position.                But the

Court has no authority to act as their caretaker, unless their

legal rights have been violated.         Based on the present record, the

Court cannot make that finding.                 Petitioners have failed to

demonstrate a substantial likelihood that they will be able to

prove that they are being subjected to unconstitutional conditions

of confinement that can only be remedied by their release from

detention.     Therefore, the Court does not have jurisdiction over

their claims for immediate habeas corpus relief, and they are not

otherwise entitled to preliminary injunctive relief that requires

their release from detention.           Furthermore, because Petitioners

have also failed to demonstrate a substantial likelihood that they

will    be   able   to   prove   that        they   are   being   subjected   to

impermissible punishment, that Respondents have been deliberately

indifferent to their safety and health, or that they have a viable

Accardi claim, they are not entitled to any other injunctive or




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declaratory   relief.      Accordingly,      Petitioners’   motion       for

preliminary injunction is denied in its entirety.7

     IT IS SO ORDERED, this 3rd day of June, 2020.

                                        S/Clay D. Land
                                        CLAY D. LAND
                                        CHIEF U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




7 The Court finds it unnecessary to address the other requirements for

obtaining preliminary injunctive relief in light of the Court’s
conclusion that Petitioners have failed to demonstrate a substantial
likelihood of succeeding on the merits of their claims.


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